Case 2:O4-cV-02108-SHI\/|-STA Document 87 Filed 04/25/05 Page 1 of 2 Page|D 116

UNITED STATES DlSTRlCT COURT
wEsTERN DlsTRlc'r oF TENNESSEE

ROBERT R. Dl TROLlO MEMPH|S 1901) 495 -1200

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JACKSON (901) 421- 9200
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04/ 125/2005

RE: Triple H Dist v. Schwarzkopf & Dep
04-2108

 

Dear Counsel:

It appears in the above referenced cause that the parties are unable to agree on the
taxation of costs.

Pursuant to Rule 54.1 of the Local Rules for the Westem District of Tennessee, the Clerk
is required to assess costs, after notice and hearing. Accordingly, the Clerk will tax costs on
Fridav Mav 13. 2005 at 10:30a.rn., in the C]erk’s office located in Room 242, Clifford Davis
Federal Building, 167 North Main Street, Memphis, Tennessee. You may appear at that time and
make any argument you believe relevant, but you are not required to attend. The Clerk will
accept the citation of any law the parties think appropriate, but such submissions must be
received no later than one week prior to the scheduled hearing

Sincerely,

Robert Di Trolio, Clerk

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/jml
c: Docket Clerk
242 F'EDERAL_ BU|LD|NG 262 FEDERAL. : l
167 N. MA|N STREET 111 S. HIGHLAND

ME.MPH|S. TENNESSEE 38103 JACKSON, TENNESSEE 33301

TATES DISTRICT oURT - wESTENR ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 2:04-CV-02108 was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

